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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


STEPHEN D. WRIGHT,               ) Civil Action No.:
                                 )
                 Plaintiff,      )                  COMPLAINT
                                 ) Violation of the ADA/ADAAA (Termination);
vs.                              ) Violation of the Rehabilitation Act (Termination);
                                 )        Violation of the ADEA (Termination);
HOUSING AUTHORITY OF THE         )      Breach of Contract; Breach of Contract
CITY OF CHARLESTON,              )       Accompanied by a Fraudulent Act
                                 )
                 Defendant.      )
_________________________________)           JURY TRIAL DEMANDED

               The plaintiff, complaining of the acts of the defendant, alleges as follows:

               1.    That the plaintiff is a citizen and resident of the County of Charleston, State

of South Carolina.

               2.     That, upon information and belief, the defendant Housing Authority of the

City of Charleston (“defendant” or “Housing Authority” or “HACC”) is a quasi-governmental

agency doing business and maintaining offices and agents in the County of Charleston, State of

South Carolina.

               3.    That this court has federal question jurisdiction of the above-styled action

pursuant to 42 U.S.C. § 12101, et seq. (the Americans with Disabilities Act or “ADA” and its

2008 Amendments “ADAAA”, collectively referred to as the “ADA/ADAAA”); 29 U.S.C. §

701, 794 (the Rehabilitation Act of 1973); 29 U.S.C. § 623, et seq. (the Age Discrimination in

Employment Act or “ADEA”); and 28 U.S.C. § 1331.

               4.    That venue for all causes of action stated herein lies in the District of South

Carolina, Charleston Division, as defendant does business in the said district, plaintiff resides in




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the district, and a substantial portion of the facts giving rise to plaintiff’s claims occurred in the

said district.

                                  CONDITIONS PRECEDENT

                 5.   That plaintiff has exhausted all administrative remedies and conditions

precedent, including timeliness, deferral and all other jurisdictional requirements necessary for

the maintenance of his Causes of Action for Violation of the ADEA and ADA/ADAAA, all of

which are more fully described below.

                 6.   That at all relevant times as defined by the ADA/ADAAA and the ADEA,

defendant employed fifteen (15) or more employees as required by the ADA/ADAAA and

twenty (20) or more employees as required by the ADEA.               As such, the defendant is an

“employer” as defined by the ADA/ADAAA and the ADEA and is otherwise subject to and

covered by both Acts.

                 7.   That on or about December 20, 2023, and as a result of defendant's

discriminatory conduct, all of which is more fully described below, plaintiff timely filed a

Charge of Discrimination with the Equal Employment Opportunity Commission ("EEOC")

alleging discrimination based on age and disability.

                 8.   That on or about May 7, 2024 plaintiff received a Notice of Right to Sue

from the EEOC regarding the Charge of Discrimination described in Paragraph 7 above.

                 9.   That plaintiff has now timely filed the foregoing action, having done so

within ninety (90) days of the date on which he received the Notice of Right to Sue described

above in Paragraph 8.




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                                   FACTUAL ALLEGATIONS

               10. That plaintiff hereby repeats and realleges each and every allegation

contained in Paragraphs 1 through 9 hereinabove as fully as if set forth verbatim.

               11. That plaintiff was born in 1962 and, thus, was over forty (40) years of age

during the time of the discrimination alleged herein.

               12.    That plaintiff suffers from chronic and long-term spinal and back

impairments – impairments that by 2018 had him walking with a pronounced and noticeable

limp and which also required plaintiff to walk with a cane as needed. (Plaintiff carried the cane

with him everywhere just in case it was needed, including when he was at work).

               13.    That in 2022 plaintiff had surgery which improved, but did not cure, the

impairments. While these impairments significantly limited (and still limit) plaintiff in, among

other things, the major life activities of walking, bending, lifting, stooping, pushing, pulling, and

sleeping, plaintiff has always been able to perform the essential duties of the jobs he has held

with little or no accommodation.

                14.   That for approximately 29 years plaintiff enjoyed a long and esteemed

career at the City of Charleston Police Department. Plaintiff started working there as a cadet

when he was just 16-years old and over the next 29 years plaintiff rose through the ranks of the

department, with several promotions and awards along the way. By the time plaintiff retired

from the force in 2009, he was a lieutenant overseeing the department’s Patrol Division for an

area that encompassed one-half of the Charleston peninsula – a job that carried a lot of

responsibility and skill with it and a job that had plaintiff supervising over fifty (50) police

officers. Plaintiff’s performance reviews at the department were all positive or satisfactory and

he was never formally disciplined in 29 years of employment there.



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                15.   That defendant is an agency whose mission is to provide low-cost rental

housing to the disadvantaged population. In carrying out its mission, the defendant purchases

and renovates properties and then leases the residences (or units) to those in need at low or

affordable prices. Part of this process involves the defendant screening its prospective tenants to

try and ensure that they are law-abiding and financially responsible by, for example, running

background checks on them. The defendant also collects rent, participates in evictions and

responds to issues, incidents and criminal activity occurring at its properties or with its tenants.

                16.   That in carrying out its mission, defendant has enjoyed a long and

beneficial relationship with the City of Charleston Police Department. To this point, for the last

40 years (or since in or around 1983) the police department would assign one (1) to five (5)

police officers to help with security at defendant’s properties and with its tenants and, in return,

defendant would pay the police department a negotiated sum of money to cover the officers’

salaries. Beginning in or around 2009, the parties began to memorialize the above arrangement

in writing by negotiating and signing two (2) year agreements which were always renewed. One

beneficial side effect of this arrangement is that many of the residents connected with or formed

a bond with the police officers.

                17.   That as far as duties are concerned, the officers assigned to the defendant’s

properties would perform tasks which included, but were not limited to, monitoring defendant’s

properties, dealing with its residents, and responding to calls regarding incidents or crimes at the

properties or involving one of the defendant’s residents. And, they would also occasionally

perform tasks related to attending eviction appeals. This arrangement between the defendant and

the police department actually became a nationally-recognized model for other similar agencies




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and police departments around the country and has been implemented in many other

jurisdictions.

                 18.   That during the time plaintiff was employed at the City of Charleston

Police Department, he was assigned to work at the defendant’s properties under this program on

three (3) different occasions during the 1990’s: a four (4) year stint from around 1989 to 1993; a

two (2) year stint in the mid-1990’s; and a third stint in the late 1990’s.

                 19.   That in undertaking this assignment, plaintiff became intimately familiar

with the duties of the job. He also became very familiar with the workings at defendant and how

it operated. And, plaintiff became very familiar with defendant’s properties, its residents, and

with its employees there, including upper management.

                 20.   That in or around September of 2008 (while plaintiff was still employed

with the City of Charleston Police Department) defendant’s CEO at the time, Donald Cameron

(“Cameron”) determined that the Housing Authority could benefit by hiring a retired law

enforcement officer to serve as a liaison between it, the police department, and other

governmental and private agencies. The position was not an existing one but rather it was newly

created by Cameron, presumably with input from his Human Resources Director and the

management team. That same month (September of 2008) defendant posted the new position

which was titled as the “Director of Community Security” (“Director of Security”).

                 21.   That around this same time (September of 2008) Cameron approached

plaintiff and encouraged plaintiff to apply for the position. Once plaintiff told Cameron that he

was interested in the job, Cameron told plaintiff he could not be hired for the new job unless and

until plaintiff first fully retired from the police department.




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                22.    That having worked as a police officer, having actually been assigned to

work at the defendant’s properties as a police officer for a significant period of time, and having

the immediate ability to retire from the force, plaintiff knew he was a perfect fit for the job. As

such, in or around November of 2008 plaintiff applied for and was hired to be the new Director

of Security at defendant. Of course, in the process plaintiff retired from the City of Charleston

Police Department as instructed by defendant.

                23.    That on or about February 9, 2009 plaintiff started his new job as the

Director of Community Security at HACC.           In taking the job, plaintiff would be earning

approximately $30,000 less in salary and benefits than what he had earned at the police

department. Also at the time of hire, defendant assured plaintiff it would pay him retirement

benefits, but it never did.

                24.    That one of plaintiff’s essential duties at his new job involved performing

background checks on new employees hired by the defendant, on persons applying to become

tenants at the defendant’s properties (or prospective tenants), and on any persons involved in any

incident or criminal activity on defendant’s property or involving one of its tenants.

                25.    That whenever any police officer (whether assigned to defendant’s

properties or not) responded to a call at an HACC property or a call involving one of its tenants,

the responding officer would forward a copy of any police report generated from the incident to

plaintiff. Plaintiff would also receive call and report logs from the City of Charleston Police

Department regarding the incident. Next, plaintiff would run background checks on those

involved and then prepare a package or file on the incident (which included plaintiff’s

background checks and any other pertinent information).          At the same time, the Property

Manager or Section 8 Coordinator of the property in question would set up a conference with the



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resident. On the day of the scheduled resident conference, plaintiff would travel to that meeting

with his folder and meet with the resident and the Property Manager or Section 8 Coordinator to

discuss the issue and to attempt to resolve it. In the process plaintiff would share the contents of

his file with the Property Manager or Section 8 Coordinator.

                26.   That plaintiff conservatively estimates he performed close to 300

background checks each month at the defendant. While the actual act of running the background

checks is not a complicated duty, the real skill in the process is interpreting the background

reports once they were generated – a task plaintiff had performed for many years at the police

department and a task plaintiff performed with a high level of expertise.

                27.   That also as the Community Security Director at defendant, plaintiff would

serve as the liaison between the defendant and community partners, the police department and

other agencies. Moreover, plaintiff was charged with monitoring the defendant’s alarm system

24/7 on his laptop computer, whether he was at work or at home. In performing this task,

plaintiff was required to monitor defendant’s properties from 9:00 p.m. until 6:00 a.m. to check

and ensure that all doors on the defendant’s properties were closed and that all alarm systems

were set. If plaintiff discovered that an alarm was not set or that a door was open at any of the

properties, plaintiff was required to respond to it regardless of the time of day or night, by either

physically going to the property or by resolving it on his computer and/or cellphone.

                28.   That to a lesser extent, plaintiff would perform field duties such as

checking the defendant’s properties or responding to miscellaneous requests – for example, a call

reporting that an abandoned vehicle had been left at one of the properties. Finally, by way of

example, the duties of plaintiff’s job required him to be involved with evicting tenants and

participating in eviction appeals. In this regard, in every eviction, the tenant has a right to appeal



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to a grievance or hearing officer who is typically a law student at the Charleston School of Law.

When this happened, plaintiff would attend, oversee or orchestrate the presentation which

typically involved him addressing the hearing officer along with the Property or Section 8

Manager and the respective police department’s investigating officer. That in addition to all of

the above, plaintiff would prepare monthly reports for the CEO, which the CEO would

incorporate into his reports or presentations to the Housing Authority Board or Commission.

               29.   That despite the above (and as made clear in the Agreement between the

defendant and the City of Charleston Police Department) plaintiff did not, and could not,

supervise the five (5) or so City of Charleston Police officers who worked on defendant’s

property. As employees of a para military entity, the police officers remained employed by the

City of Charleston Police Department and they continued to report to their supervisors at the

police department the entire time the officers performed duties at defendant’s premises. The

plaintiff did not have supervisory authority over the police officers so, unlike their real

supervisors, plaintiff did not spend time disciplining or admonishing them, providing them with

performance evaluations and pay raises, setting their schedules, or training them. At the same

time, the police officers were not even on duty at defendant roughly one-half of the time plaintiff

was there working. And, by way of example, many of the duties plaintiff performed at defendant

had nothing to do with the City of Charleston Police officers - for example, plaintiff’s job duty to

monitor the defendant’s properties 24-hours a day to ensure all doors were locked and all alarms

had been set, had nothing to do with the officers. To be sure, defendant hired plaintiff to be a

liaison between it and many organizations and entities – not just the City of Charleston Police

Department. Plaintiff had many other job duties which related to being a liaison to these other

entities.



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                30.   That as far as defendant’s structure and plaintiff’s chain of command,

plaintiff was one of seven (7) Directors. As of 2022, the six (6) other Directors – all on the same

level as plaintiff were: Alex McFarlane (in his fifties), the Director of Housing Management;

Diana Hendrix (in her fifties), the Section 8 Director (who in 2022, shortly after plaintiff’s

layoff, was replaced by Euvelle Carter due to performance issues). Plaintiff estimates Ms. Carter

to be in her late thirties to early forties; Pete Sherman (in his fifties), the RAD Coordinator (who

also handles CFO duties); Meghan Kelly (in her fifties), the Director of Human Resources;

Tracey Schumacher (in her forties), the Director of Maintenance; and Aris Ferguson (mid-to late

thirties), the Authority’s General Counsel.

                31.   That most of the above Directors had positions reporting to them. For her

part, Kelly only had one (1) part-time employee reporting to her and, while the five (5) or so City

of Charleston Police officers performed security-related duties at the defendant’s properties and

for the defendant’s tenants, as the Director of Security, plaintiff did not supervise the said

officers in any shape or form.

                32.   That as of 2022 plaintiff was the oldest or second oldest Director and he

was also the most senior or the second most senior Director in terms of seniority. And, to

plaintiff’s knowledge, he was the only Director suffering from a known and visible disability.

                33.   That going up the chain of command, all of the Directors reported to the

Chief Operating Officer (“COO”) of the defendant Authority, Arthur S. Milligan, Jr.

(“Milligan”).   Milligan, in turn, reported to the CEO at the time, Cameron. In or around

December of 2021 Cameron retired, but agreed to stay on with the Housing Authority for another

year doing consulting work (though he mostly worked from home during his last year of

employment with the defendant). At the same time, as of January of 2022, Milligan was



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promoted into the CEO position at defendant and thereby became the new direct supervisor over

all of the Directors, including plaintiff (as his COO position was left unfilled).

                34.   That as to plaintiff’s job performance at defendant, plaintiff performed his

job in an above-satisfactory fashion and otherwise maintained an excellent employment record

there. To this point, plaintiff was experienced and skilled at what he did, as many of his duties at

defendant were duties plaintiff had been performing for nearly 30 years at the police department.

Moreover, plaintiff always received “meets” or “exceeds” scores on his annual performance

reviews, which plaintiff received every September – except for the very last September

(September of 2022) that plaintiff was employed with the defendant – an omission plaintiff

found to be suspicious. Plaintiff also always received yearly merit raises at defendant, his

supervisors at defendant routinely told him he did a good job, and he was never disciplined while

employed with the defendant – despite the fact that defendant has and uses a progressive

discipline policy. Finally, even when defendant fired plaintiff, it told him that his termination

had nothing to do with job performance.

                35.   That, for the most part, plaintiff’s employment at defendant was smooth

and without issues. However, after almost 30 years of police work, plaintiff was experiencing a

lot of pain in his lower back. Over the years, and as plaintiff began to work at defendant, he

experienced severe, deep pain in his lower back, legs and back.

                36.   That in 2010 or 2011, after plaintiff began employment at defendant, he

was diagnosed with arthritis in his spine and with two (2) degenerative, ruptured disks in his

back. As a result, plaintiff experienced pain in his back, legs and neck. These impairments are

progressive and, over time, they only became worse. In general, for most of the time plaintiff

was employed at defendant, he treated his pain with light pain medication, which plaintiff took at



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night, physical therapy, home exercise, and some epidural injections.             While the above

treatments did not come close to alleviating the pain, they at least made it so that plaintiff could

get up in the morning, go to work, and perform his job duties in a satisfactory or above-

satisfactory manner.

                37.    That on or about December 28, 2016, while washing his car in a drive-

through-style car wash (in the course and scope of his duties at defendant) plaintiff was injured

when the driver behind him in the car wash accidentally stepped on her gas pedal and accelerated

her car into the back of plaintiff’s car. As a result, plaintiff injured his back and neck and

exacerbated his existing back injuries. Otherwise, the injury caused plaintiff to file a worker’s

compensation claim.

                38.    That on or about July 3, 2018, during a doctor’s visit, plaintiff’s physicians

advised plaintiff that he had reached maximum medical improvement in regard to his 2016 back

and neck injuries.     However, they also concluded that plaintiff would still need continued

treatment in the form of physical therapy, spinal injections, pain medications and follow-up

visits.

                39.    That on or about January 25, 2019, plaintiff was again struck from behind

by another vehicle as he was at a dead stop on Ladson Road waiting for the traffic light to

change. As with the 2016 wreck, this accident injured (and exacerbated) existing injuries

plaintiff had to his back and neck.

                40.    That shortly after this 2019 accident, plaintiff’s physicians noted in their

records that plaintiff’s back pain became even worse and that the pain was now shooting down

plaintiff’s legs. Despite continued treatment, plaintiff’s pain had not improved. On the contrary,

it got worse. As a result, in or around the beginning of February 2019, plaintiff’s physicians



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directed plaintiff to undergo an MRI. The results of the MRI revealed, among other things,

worsening disk protrusion at L4-L5, eccentric to plaintiff right side and more radicular pain

shooting down his right leg. At that point, plaintiff’s physicians concluded (again, in their

written reports) that the January 25, 2019 collision had worsened the back and neck injuries

plaintiff sustained in the 2016 accident. But for the time being, plaintiff’s doctors did not believe

invasive back surgery was warranted.          Thereafter plaintiff’s physicians continued to treat

plaintiff’s impairments with steroid injections, light pain mediation (Tramadol), physical

therapy, and home exercise.

                  41.   That by this time all of plaintiff’s impairments began to take a physical toll

on him. Around this general timeframe (at some point between the two (2) accidents), plaintiff

began to walk with a noticeable limp, and he began to occasionally walk with a cane when

needed (which plaintiff carried with him everywhere he went, but only used when needed). On

several, if not many, occasions, plaintiff took the cane into work and used it there where

employees and upper management alike observed him walking with a pronounced limp and

using his cane.

                  42.   That plaintiff’s noticeable and pronounced limp, along with his use of a

cane sometimes at work, certainly revealed to others at work that plaintiff was an injured and

disabled employee. Yet, as plaintiff’s employment record indicates, he continued to perform the

essential duties of his job in a satisfactory fashion with little or no accommodation. To be sure,

plaintiff’s duties at defendant were far less strenuous than his duties were at the police

department.

                  43.   That throughout this approximate period of time (2018 through 2021)

plaintiff’s physicians discussed the prospect of invasive lower back surgery with plaintiff. But in



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doing so, plaintiff’s physicians advised him the chances for success for this type of surgery was

only 50%. Given the low success rate for the operation, and the burden such an operation would

have on his body and on his attendance at work, plaintiff opted not to have the surgery. Instead,

plaintiff continued to work with the less-invasive medical treatments set forth above.

                44.   That as stated, during December of 2021 Cameron had retired as CEO and,

beginning in or around January of 2022, Milligan became the interim CEO.

                45.   That also in or around 2022, with plaintiff’s back, neck and leg pain

worsening, his physicians began to discuss a different, less invasive type of procedure with

plaintiff – a laminectomy for the implantation of neurostimulator electrodes or, stated in more

understandable terms, plaintiff’s physicians suggested that he have a nerve pain stimulator

implanted under his skin, near or at his lower back and spine.

               46.    That with little to no options left, plaintiff agreed to the procedure. As

such, in or around June or July of 2022 plaintiff scheduled the surgery for July 27, 2022. Of

course, in doing so, plaintiff told his supervisor Milligan and the Human Resource Director Kelly

about his impairments and about the surgery. Accordingly, on or around July 27, 2022 plaintiff

had the surgery as scheduled. He did so without missing one day of work. On the other hand,

plaintiff did request a reasonable accommodation in relation to the surgery in the form of

working from home for the first 45 days after the surgery – a request which defendant granted.

Otherwise, plaintiff returned to work like he always did – first working from home for the first

45 days after the surgery and then in the office. Surprisingly, the surgery was successful in the

sense that it lessened plaintiff’s pain to the extent that he did not have to take pain medication

every night, but plaintiff still experienced a lot of pain, he still walked with a limp, and he still

used a cane to walk when needed.



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                47.   That after developing his noticeable limp, using a cane at work and then

after his July 27, 2022 surgery, plaintiff observed that Milligan and Kelly, who now appeared to

be acting together and working more closely with one another, began to treat plaintiff in a

dismissive and less-respectful manner in comparison to the way they treated him before the

above events.

                48.   That in addition to the way Milligan and Kelly began to treat plaintiff, at

some point after plaintiff’s last surgery Milligan began to make repeated age-related remarks to

plaintiff while both Milligan and Kelly started to make repeated disability-related remarks to

plaintiff. For his part, Milligan began to repeatedly ask plaintiff how much longer he planned to

work at defendant, the date on which plaintiff planned on retiring from the defendant, whether

plaintiff planned on retiring soon, and he would ask plaintiff how much longer he thought he

could work or perform his job duties. At the time, plaintiff had no plans to retire and he

communicated this to Milligan. Plaintiff also advised Milligan that, in general, he wanted to

work until at least age 65 when plaintiff would be eligible for his full Social Security benefits.

Even after answering Milligan’s repeated inappropriate questions about retirement, Milligan still

continued to make the same age-related remarks to plaintiff. Plaintiff estimates Milligan made

these comments to him at least five (5) or six (6) times or more during plaintiff’s last six (6) to

seven (7) months of employment with the defendant.

                49.   That the repeated nature of Milligan’s questions and remarks to plaintiff

(even after plaintiff responded to and/or answered them) and the fact that they really only started

after plaintiff’s surgery, made plaintiff feel as though Milligan did not want plaintiff to work at

the defendant anymore because Milligan wrongfully thought plaintiff’s age and disabilities

rendered him incapable of performing his job.



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                50.      That at the same time, Kelly would repeatedly tell plaintiff a story about

how someone close to her had the same procedure as plaintiff (the insertion of a nerve pain

stimulator in their back), that the procedure did not work for that person, that it only made the

pain worse, and that the person never recovered. Plaintiff estimates Kelly made this type of

remark to him approximately four (4) or five (5) times or more during the last six (6) to seven (7)

months of plaintiff’s employment with the defendant, even making it on the very day plaintiff

was terminated.

                51.      That by making these remarks to plaintiff, he understood them to mean that

his disabilities were on Kelly’s mind; that Kelly did not believe that plaintiff’s surgery was a

success; and that, like the person in her story, plaintiff would only get worse, never recover and

that, due to his disabilities, plaintiff was unable to perform the essential duties of his job – a

belief that was false.

                52.      That knowing full well that plaintiff was plagued by back pain, walked with

a limp and used a cane, Milligan would tell plaintiff that, if plaintiff was late to a meeting or to

work, plaintiff had to drop on the ground and do 10 pushups – a remark Milligan did not make in

jest. And, in or around October of 2022, when both Milligan and plaintiff were moving into new

homes, Milligan needlessly told plaintiff that “Now that we are ‘older’ it's rough to move.”

                53.      That plaintiff found all of the above comments, stories and questions

inappropriate and discriminatory. But since they were coming from the defendant’s CEO and

Director of Human Resources, there was no meaningful avenue he could take to report or

complain about their conduct.

                54.      That in the midst of the above comments, in or around December of 2022,

the current 2-year contract between the police department and the defendant was up for renewal



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again. Plaintiff understood the police department wanted to add several new terms to the

agreement, which was not unusual. What was unusual was that, for the first time in 40 years, a

CEO (Milligan) did not want to renew the contract. In fact, in or around December of 2022,

after receiving the proposed contract from the police department, Milligan did not want to sign

the agreement or even meet with the police department to negotiate it.

                55.    That of course, plaintiff wanted the contract to be negotiated and signed.

The officers were a tremendous help to plaintiff, they looked after the safety of the residents,

many of whom formed a bond or connection with the officers, they protected defendant’s

employees and its properties, and plaintiff did not want to break the long and successful

tradition. For these reasons, plaintiff would ask Milligan about the status of the contract.

Whenever plaintiff did, Milligan would respond that, “He was thinking about it.” Plaintiff even

suggested that Milligan meet with the Mayor and the Chief of Police together or to get Cameron

involved if that’s what it took to get it negotiated and executed. But Milligan would only say he

was still thinking about it.

                56.    That in or around January of 2023 the defendant had still not signed the

new contract with the City of Charleston Police Department. That same month, the police

department supervisor over the Police Housing Unit told plaintiff that he had been directed not to

assist plaintiff any longer. When plaintiff advised Milligan about the comment in or around late

January of 2023, Milligan again responded he was still thinking about it. At or near the end of

January 2023, the City of Charleston Police Department pulled its officers off of the HACC job

and the contract was never negotiated or signed.

                57.    That plaintiff was concerned that the amount of work he would have to do

without the assistance of any of the police officers would be significantly increased. Plaintiff



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could still perform it, but it would be much harder. Plaintiff also did not understand why the

contract had not been negotiated or signed when the defendant’s budget for 2023/2024 had been

approved and when it expressly included the plaintiff’s salary and the salaries for four (4) City of

Charleston police officers. At the same time, plaintiff could not understand a decision that

would have such a negative impact on the safety of the defendant’s residents, properties and

employees.

               58.    That in the meantime, plaintiff understands that Hendrix, the Section 8

Director, was having issues performing her job. Rather than disciplining, terminating or laying

her off, defendant created a new position – an employee training position – and transferred her

into it. The defendant then transferred Euvelle Carter (“Carter”), an employee who had been

working in a file room with little to do, into the Section 8 Director position. Also in this regard,

plaintiff observed that Mr. McFarlane, the Director of Housing, was not performing his job

duties in a satisfactory manner.

               59.    That about a month later, on or about Friday, March 3, 2023, Milligan

instructed plaintiff to meet him in Kelly’s office in the Human Resources Department. As

plaintiff was walking into the building that day, defendant’s in-house counsel, Aris Ferguson,

was leaving the building and the two exchanged pleasantries with one another.

               60.    That once inside Kelly’s office, Kelly and Milligan were waiting there for

plaintiff. Kelly, who did most of the talking, first asked plaintiff if he knew why he was there.

Plaintiff candidly responded in the negative. Plaintiff truly had no earthly idea why he had been

called to the meeting. Kelly then stated that they had decided to eliminate plaintiff’s position as

HACC was going to go in a different direction. Kelly then began to go over the Severance

Agreement and Release the defendant had prepared for him to sign. At some point Milligan



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stood up to leave the meeting, so plaintiff stood up as well. While both of the men were standing

they shook hands. In the process plaintiff rhetorically remarked to Milligan, “So the safety of the

residents and employees is no longer a priority for the Housing Authority.”            In response,

Milligan remarked in an apologetic tone that plaintiff was being laid off because of funding (or a

lack thereof), vacancies, and because of the RAD program. He also said that they were going in

a different direction by trying to form an alliance with the County – a strategy that plaintiff

devised and had already tried but, in the end, the parties were unable to form an alliance then and

they still have not formed any such relationship.

               61.    That at some point during the meeting (after Milligan had left) Kelly found

it appropriate to once again tell plaintiff the story about how someone close to her underwent the

same procedure as plaintiff did, that it did not work for that person, that the person was still in a

lot of pain, and that the person never recovered – a remark that shows she had plaintiff’s

disabilities and/or age on her mind when she let plaintiff go and a remark which further shows

that Kelly falsely believed plaintiff’s disabilities and/or age rendered him incapable of

performing his job.

               62.    That in the end, Kelly asked plaintiff if he could stay on board for another

two (2) weeks – the first week in the office and the second week at home – to help with the

transition and to answer questions.       Without signing the Severance Agreement, plaintiff

reluctantly agreed to stay for two (2) more weeks. Despite being told that his layoff was due to

funding, plaintiff knew for a fact that his salary and the salaries of the police officers was in the

budget for that year and that the budget had already been approved. Plaintiff knew that because

he saw the budget with his own eyes. In addition to that, plaintiff’s job at defendant had nothing

to do with vacancies at defendant’s properties, funding or the RAD program.



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                63.   That the following Monday, March 6, 2023, plaintiff returned to work as

promised. On that day Kelly sent a short email to all employees at the defendant advising that,

“Due to the restructuring of the police department and community security, Stephen’s last day in

the office will be Friday, March 10, 2023.” The email further stated that, “Moving forward,

please communicate any security concerns with Alex McFarlane.”

                64.   That otherwise, all Monday, Tuesday and Wednesday of that week plaintiff

was barraged with questions from Kelly, other employees and supervisors about how to perform

the duties of his job, including questions about background checks. On Wednesday of that week,

when Kelly again came to plaintiff’s office to ask him more questions, plaintiff had had enough.

Plaintiff announced to Kelly that he was going home for good and left the premises.

                65.   That approximately three (3) weeks after plaintiff’s termination he was

advised that, during one of Milligan’s weekly staff meetings, Kelly proposed hiring a company

that could perform background checks for defendant for around $75,000 a year. At first Milligan

was all for the plan, but when the procurement officer interjected that, due to the amount at issue,

any such arrangement would have to be approved by the Board, Milligan changed his mind about

Kelly’s idea.

                66.   That on or about May 5, 2023, Kelly sent an email to all of the Board

members stating:

                       “We wanted to inform you that the position of Director of
                       Community Security was eliminated because the contract between
                       the Housing Authority and the City of Charleston Police
                       Department was ended.”

                       …

                       “Alex McFarlane, the Director of Housing Management, has been
                       handling security issues that may arise.”



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               67.   That the above is different from what plaintiff was told at his termination

meeting where plaintiff was told he was being laid off because of funding, vacancies and the

RAD program.

               68.   That after plaintiff was terminated, McFarlane, who had been promoted to

be defendant’s COO, performed the duties of plaintiff’s job on an interim basis for

approximately six (6) months. Thereafter, defendant posted a job opening for a new position

called Security and Public Information Officer – a job which, according to the posting, included

many of the exact same job duties that plaintiff performed at defendant. Ultimately, defendant

hired a younger, less-qualified person, with no known disabilities, into the posted position.

               69.   That in addition to all of the above, defendant has a Reduction in Force

policy on page 110 of its handbook which states in strong and mandatory terms that, “If it is

necessary to reduce personnel, the selection of employees to be retained shall be based on their

relative efficiency and the necessity of the jobs entailed. Other things being equal, length of

service shall be considered.” Based on this criteria, the defendant breached the above policy by

selecting the plaintiff to be laid off as his efficiency exceeded the efficiency of other Directors

and employees and his job was more necessary than the jobs of other Directors and employees.

Moreover, plaintiff would prevail on any close call or tie with another employee because he had

more years of service than all the other Directors (or the second most years of service).

               70.   That defendant really terminated plaintiff (or selected him for layoff)

because of his disabilities (or perceived disabilities) and/or because of plaintiff’s age (61),

thereby violating both the ADA and the ADEA.




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                           FOR A FIRST CAUSE OF ACTION:
                           VIOLATION OF THE ADA/ADAAA
                        TERMINATION BASED UPON DISABILITY
                           AND/OR PERCEIVED DISABILITY
                                  (42 U.S.C. § 12101)

               71.    That plaintiff hereby repeats and realleges each and every allegation in

Paragraphs 1 through 70 hereinabove as fully as if set forth verbatim.

               72. That as alleged above, at all pertinent times as defined by the ADA/ADAAA,

defendant employed fifteen (15) or more employees and, thus, is an “employer” as defined by

said Act and otherwise subject to it.

               73.    That as a result of plaintiff’s chronic and long-term spinal and back

impairments, his arthritis in his spine, his two (2) degenerative and ruptured discs in his back, his

limp, and the attendant pain, plaintiff was substantially limited in one or more major life activity,

namely walking, bending, stooping, lifting, sleeping, standing, and pushing and pulling. Moreover,

the impairments identified above are chronic, long-term and likely lifetime impairments.

               74.    That despite the above, plaintiff could perform the essential duties of his

job at defendant (with or without reasonable accommodations in the form of intermittent medical

leave of a limited nature to attend doctor appointments, the use of a cane, and periodic short

breaks from work).

               75.    That as such, the plaintiff is disabled as defined by the ADA/ADAAA.

Moreover, the defendant regarded or perceived plaintiff as being disabled as defined by that Act,

and it erroneously believed plaintiff’s disabilities, or perceived disabilities, prevented him from

performing the essential duties of his position at defendant.

               76.    That as alleged, plaintiff performed his job duties at defendant at a level that

met defendant’s legitimate expectations as plaintiff always received above-average overall scores on



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his employment evaluations at defendant; he consistently received annual merit raises; his

supervisors routinely complimented plaintiff on his job performance; and plaintiff was never

disciplined, placed on a performance improvement plan, or admonished regarding his job

performance, his conduct, or attendance during the entire length of his employment at defendant –

even though defendant had, and used, a progressive discipline policy and defendant expressly told

plaintiff when it terminated him that his termination had nothing to do with performance.

                77.    That despite the above, defendant fired plaintiff (or laid him off) without prior

warning, notice, discipline or cause (even though the defendant has and utilizes a progressive

discipline policy) and for false reasons and/or reasons unworthy of credence.

                78.    The moreover, in laying plaintiff off, defendant retained employees (and did

not select other employees for the layoff) who were less qualified than plaintiff and were

performing their job at a lower level than plaintiff.

                79.    That otherwise, defendant’s actions in laying off plaintiff (and/or selecting

plaintiff for a RIF) were such that they gave rise to the inference of disability discrimination and

included, but are not limited to, the following:

                       (a)   Defendant fired plaintiff without prior notice, warning,
                             discipline or cause;

                       (b)   The underlying reasons defendant provided to plaintiff for the
                             layoff were false or unworthy of credence;

                       (c)   The reasons defendant gave to plaintiff for selecting him for
                             layoff were different than the criteria set forth in defendant’s
                             own RIF policy which defendant was required to go by and
                             consider in making RIF decisions;

                       (d)   Defendant deviated from its own RIF policy in selecting
                             plaintiff for the layoff as plaintiff was more efficient at his job
                             and his job was more necessary than the jobs of other directors
                             and employees as set forth above. Moreover, plaintiff should
                             have been retained had there been a tie between him and another


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                    employee as he had more years of service than all the other
                    directors, or all the other directors except one;

              (e)   Plaintiff was the only employee selected for the RIF;

              (f)   Plaintiff was the only director with known and visible
                    disabilities;

              (g)   Defendant conveniently failed to give plaintiff his last
                    performance evaluation in or around September of 2022 – a
                    document which would have evidenced plaintiff’s strong
                    performance at defendant and a document which would have
                    supported retaining plaintiff instead of laying him off;

              (h)   That during the last couple of years plaintiff was employed at
                    defendant he began to walk with a noticeable limp and use a
                    cane at work as needed – a circumstance observed by the other
                    employees at defendant, including its CEO, Human Resource
                    Director, and other upper-level management employees. In or
                    around July of 2022 plaintiff had surgery related to his
                    disabilities – again, a circumstance which defendant’s CEO,
                    Human Resource Director and other upper-management
                    employees knew about;

              (i)   That after plaintiff began to walk with a limp and use a cane at
                    work, and after his surgery, defendant’s CEO and defendant’s
                    Human Resource Director began to treat plaintiff in a dismissive
                    and less-respectful manner than they had before those
                    circumstances arose, and they both began to make disability and
                    age-related remarks to plaintiff which could be interpreted to
                    mean they no longer wanted plaintiff to work at defendant
                    because they both erroneously believed plaintiff was too
                    disabled to perform the essential duties of his job at defendant;

              (j)   Kelly even made a disability-related remark on the day she
                    terminated plaintiff once again, telling plaintiff that someone
                    she knew who had the same procedure as plaintiff never
                    recovered;

              (k)   Defendant gave plaintiff two (2) different and inconsistent
                    reasons for his layoff, with Milligan telling plaintiff he was
                    selected for the RIF because of funding, vacancies, and the
                    RAD Program – factors which were unrelated to plaintiff job
                    and to the layoff criteria stated in defendant’s RIF policy, while
                    Kelly told the board that plaintiff was laid off because the
                    defendant failed to renew the contract with the City of
                    Charleston Police Department;

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                       (l)   Even though defendant told plaintiff his job had been
                             eliminated, defendant assigned another employee to perform the
                             duties of plaintiff’s job on an interim basis after plaintiff was
                             fired and ultimately defendant hired a permanent employee to
                             perform many, if not most, of plaintiff’s job duties under a
                             different title. Neither employee suffered from a known
                             disability; and

                       (m) That one of plaintiff’s major job duties at defendant was to
                           perform and interpret background checks. Within weeks after
                           plaintiff was laid off, Kelly proposed that defendant contract
                           with an outside firm to do the background checks for $75,000 a
                           year (when plaintiff’s salary was around $100,000 a year);

                80.    That based upon the above (among other things) defendant violated the

ADA/ADAAA by firing and/or laying off plaintiff because of his disabilities and/or perceived

disabilities, by laying plaintiff off because of the potential absences associated with his disabilities,

and by laying plaintiff off because defendant erroneously believed that plaintiff’s disabilities or

perceived disabilities rendered him unable to perform the essential duties of his job.

                81. That as a result of defendant’s actions as set forth above, plaintiff has been

damaged in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, severe psychological harm, emotional distress, pain and suffering, loss

of enjoyment of life, anxiety, depression, inconvenience, mental anguish, embarrassment,

humiliation, loss of professional standing, character and reputation, physical and personal

injuries and plaintiff further seeks his reasonable attorney’s fees and costs and prejudgment

interest.

                82.   That defendant’s actions as described above were undertaken intentionally,

willfully, wantonly, knowingly and with reckless indifference to plaintiff’s federally protected

rights and, therefore, plaintiff is entitled to recover punitive damages from the defendant.




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                       FOR A SECOND CAUSE OF ACTION:
                 VIOLATION OF THE REHABILITATION ACT OF 1973
                                TERMINATION

               83.    That plaintiff hereby repeats and realleges each and every allegation in

Paragraphs 1 through 82 hereinabove as fully as if set forth verbatim.

               84.    That at all pertinent times as defined by the Rehabilitation Act, defendant

received substantial and/or significant federal monies, either directly or indirectly, and thereby is

subject to the terms of said Act.

               85.    That as alleged above in Paragraph 73, plaintiff suffers from impairments

which significantly or substantially limit his ability to perform one or more major life activity.

               86.    That as alleged above in Paragraph 74, despite plaintiff’s impairments, he

could perform the essential duties of his job at defendant with or without reasonable

accommodations.

               87.    That as such, plaintiff is disabled as defined by the Rehabilitation Act.

Moreover, defendant regarded or perceived plaintiff as disabled as defined by the Rehabilitation

Act.

               88.    That at all times plaintiff performed his job duties at defendant in a manner

that met defendant’s legitimate expectations.

               89.    That despite the above, defendant fired plaintiff (or laid plaintiff off)

without warning, notice, prior discipline or cause and for false reasons and/or reasons unworthy

of credence.

               90.    That moreover, in selecting plaintiff for the RIF, defendant retained

employees (and, thus, did not select other employees for the layoff) who were less qualified than

plaintiff and who were performing their job at a lower level than plaintiff.



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                91.    That otherwise, defendant’s actions as described above and as set forth in

Paragraph 79 (a)–(m) give rise to an inference that defendant selected plaintiff to be laid off

because of his disabilities and/or perceived disabilities.

                92.    That based upon the above, among other things, defendant violated the

Rehabilitation Act by firing and/or lay off plaintiff because of his disabilities and/or perceived

disabilities, by laying plaintiff off because of the potential absences associated with said disabilities

(and/or perceived disabilities), and by laying plaintiff off because defendant erroneously believed

that plaintiff’s disabilities or perceived disabilities rendered him unable to perform the essential

duties of his job.

                93. That as a result of defendant’s actions as set forth above, plaintiff has been

damaged in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, severe psychological harm, emotional distress, pain and suffering, loss

of enjoyment of life, anxiety, depression, inconvenience, mental anguish, embarrassment,

humiliation, loss of professional standing, character and reputation, physical and personal

injuries and plaintiff further seeks his reasonable attorney’s fees and costs and prejudgment

interest.

                94.   That defendant’s actions as described above were undertaken intentionally,

willfully, wantonly, knowingly and with reckless indifference to plaintiff’s federally protected

rights and, therefore, plaintiff is entitled to recover punitive damages from the defendant.

                              FOR A THIRD CAUSE OF ACTION:
                                 VIOLATION OF THE ADEA
                               TERMINATION BASED ON AGE

                95.    That plaintiff hereby repeats and realleges each and every allegation in

Paragraphs 1 through 94 hereinabove as fully as if set forth verbatim.



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               96.   That defendant is a “person” within the meaning of the ADEA, 29 U.S.C. §

630(a).

               97.   That defendant is in an industry that affects commerce and defendant

employed twenty (20) or more employees for each working day in each of twenty (20) or more

calendar weeks in the current or preceding calendar years and, thus, defendant is an employer as

defined by the ADEA, 29 U.S.C. § 630(b).

               98.   That plaintiff was born in 1962 and, thus, was well over forty (40) years of

age at the time of defendant’s discriminatory conduct against him. Therefore, plaintiff was in a

protected class and was otherwise covered by the ADEA.

               99.    That as alleged, plaintiff performed his job duties at defendant at a level that

met defendant’s legitimate expectations as plaintiff always received above-average overall scores on

his employment evaluations at defendant; he consistently received annual merit raises; his

supervisors routinely complimented plaintiff on his job performance; and plaintiff was never

disciplined, placed on a performance improvement plan, or admonished regarding his job

performance, his conduct, or attendance during the entire length of his employment at defendant –

even though defendant had, and used, a progressive discipline policy and defendant expressly told

plaintiff when it terminated him that his termination had nothing to do with performance.

               100. That despite the above, defendant fired plaintiff (or laid him off) without prior

warning, notice, discipline or cause (even though the defendant has and utilizes a progressive

discipline policy) and for false reasons and/or reasons unworthy of credence.

               101. The moreover, in laying plaintiff off, defendant retained employees (and did

not select other employees for the layoff) who were less qualified than plaintiff and who were

performing their job duties at a lower level than plaintiff. In addition to the above, two (2)



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employees performed the duties of plaintiff’s job after plaintiff’s termination, both of whom were

substantially younger and less qualified than plaintiff.

                102. That otherwise, defendant’s actions in laying off plaintiff (and/or selecting

plaintiff for a RIF) were such that they gave rise to the inference of age discrimination and included,

but are not limited to, the following:

                       (a)   Defendant fired plaintiff without prior notice, warning,
                             discipline or cause;

                       (b)   The underlying reasons defendant provided to plaintiff for the
                             layoff were false or unworthy of credence;

                       (c)   The reasons defendant gave to plaintiff for selecting him for
                             layoff were different than the criteria set forth in defendant’s
                             own RIF policy which defendant was required to go by and
                             consider in making RIF decisions;

                       (d)   Defendant deviated from its own RIF policy in selecting
                             plaintiff for the layoff as plaintiff was more efficient at his job
                             and his job was more necessary than the jobs of other directors
                             and employees as set forth above. Moreover, plaintiff should
                             have been retained had there been a tie between him and another
                             employee as he had more years of service than all the other
                             directors or all the other directors except one;

                       (e)   Plaintiff was the only employee selected for the RIF;

                       (f)   Plaintiff was the oldest, or second oldest, Director at the time he
                             was selected for layoff;

                       (g)   Defendant conveniently failed to give plaintiff his last
                             performance evaluation in or around September of 2022 – a
                             document which would have evidenced plaintiff’s strong
                             performance at defendant and a document which would have
                             supported retaining plaintiff instead of laying him off;

                       (h)   That during the last couple of years plaintiff was employed at
                             defendant he began to walk with a noticeable limp and use a
                             cane at work as needed – a circumstance observed by the other
                             employees at defendant, including its CEO, Human Resource
                             Director, and other upper-level management employees. In or
                             around July of 2022 plaintiff had surgery related to his
                             disabilities – again, a circumstance which defendant’s CEO,

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                              Human Resource Director and other upper-management
                              employees knew about;

                        (i)   That after plaintiff began to walk with a limp and use a cane at
                              work, and after his surgery, defendant’s CEO and defendant’s
                              Human Resource Director began to treat plaintiff in a dismissive
                              and in a less-respectful manner than they had before those
                              circumstances arose, and they both began to make disability and
                              age-related remarks to plaintiff which could be interpreted to
                              mean they no longer wanted plaintiff to work at defendant
                              because they both erroneously believed plaintiff was too
                              disabled to perform the essential duties of his job at defendant;

                        (j)   Defendant gave plaintiff two (2) different and inconsistent
                              reasons for his layoff, with Milligan telling plaintiff he was
                              selected for the RIF because of funding, vacancies, and the
                              RAD Program – factors which were unrelated to plaintiff job
                              and to the RIF criteria stated in defendant’s own RIF policy,
                              while Kelly told the board that plaintiff was laid off because the
                              defendant failed to renew the contract with the City of
                              Charleston Police Department;

                        (k)   Even though defendant told plaintiff his job had been
                              eliminated, defendant assigned another employee to perform the
                              duties of plaintiff’s job on an interim basis after plaintiff was
                              fired and ultimately defendant hired a permanent employee to
                              perform many, if not most, of plaintiff’s job duties under a
                              different title. Both employees were substantially younger than
                              plaintiff; and

                        (l)   That one of plaintiff’s major job duties at defendant was to
                              perform and interpret background checks. Within weeks after
                              plaintiff was laid off, Kelly proposed that defendant contract
                              with an outside firm to do the background checks for $75,000 a
                              year (when plaintiff’s salary was around $100,000 a year);

               103. That based upon the above (among other things) defendant violated the

ADEA by firing and/or laying off plaintiff because of his age.

               104. That as a result of defendant’s actions as set forth above, plaintiff has been

damaged in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, other economic injury, reasonable attorney’s fees and costs and

prejudgment interest.

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                 105. That defendant’s actions as described above were undertaken intentionally,

willfully, wantonly, knowingly and with reckless indifference to plaintiff’s federally protected

rights and, therefore, plaintiff is entitled to recover liquidated damages from the defendant.

                            FOR A FOURTH CAUSE OF ACTION:
                                 BREACH OF CONTRACT

                 106. That plaintiff hereby repeats and realleges each and every allegation in

Paragraphs 1 through 105 hereinabove as fully as if set forth verbatim.

                 107. That defendant issued employee handbooks and written policies and

procedures to plaintiff which required defendant to follow certain procedures and to use specific

criteria when selecting which employees to retain in a reduction of force situation. Specifically,

the RIF policy at page 110 of the handbook requires that defendant rely on two (2) factors when

deciding which employees would be retained in such circumstances:           the employee’s relative

efficiency and the necessity of the employee’s job. In the event there was a tie, the defendant

was to rely on the employee’s length of service.

                 108. That the above policies, procedures and assurances applied to plaintiff.

                 109. That the above policies, procedures and assurances are stated in strong and

mandatory terms as evidenced by the use of the word “shall” on more than one occasion in the

policy (e.g., “selection of employees to be retained shall be based on their relative efficiency and

the necessity of the jobs entailed.       Other things being equal, length of service shall be

considered.”).

                 110. That in addition to the above, defendant’s upper management and Human

Resource Department repeatedly told plaintiff that the policies in the handbook were binding on

both parties and that defendant and employees alike were required to follow it. As such, the said




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handbook or manual gives rise to a contract of employment which served to alter any at-will

employment relationship that otherwise may have existed between the parties.

                111. That defendant breached the employment contract referred to above by

selecting the plaintiff to be laid off when his relative efficiency far exceeded many other

directors’ or employees’ efficiency and when his job was more necessary than the jobs of other

directors and employees. Finally, plaintiff had more length of service than all or all but one

director and, if plaintiff was tied with any other director regarding the selection to be retained,

plaintiff should have been selected to be retained.

                112. That as a direct result of defendant’s breaches as set forth above, plaintiff has

suffered damages in the form of lost back and future wages, income and benefits, expenses

associated with finding other work, other economic injury and prejudgment interest.

                             FOR A FIFTH CAUSE OF ACTION:
                          BREACH OF CONTRACT ACCOMPANIED
                                BY A FRAUDULENT ACT

                113. That plaintiff hereby repeats and realleges each and every allegation contained

in Paragraphs 1 through 112 hereinabove as fully as if set forth verbatim.

                114. That as alleged above, the parties entered into a contract of employment.

                115. That defendant breached the parties’ contract of employment.

                116. That defendant breached the employment contract with fraudulent intent -

namely, it wanted to get rid of plaintiff because of plaintiff’s age and disabilities.

                117. That defendant engaged in fraudulent actions which accompanied the breach

of the contract by, among other things, giving plaintiff false reasons or reasons not worthy of

credence for his selection to be laid off.




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                118. That as a direct result of defendant’s conduct as set forth above, plaintiff has

suffered damages in the form of lost back and future wages, income and benefits, costs associated

with finding other work, psychological harm, emotional distress, anxiety, depression, pain and

suffering, inconvenience, mental anguish, loss of enjoyment of life, loss to professional standing,

character and reputation, embarrassment, humiliation, physical and personal injuries and

prejudgment interest.

                119. That moreover, defendant’s actions as alleged above were undertaken

intentionally, wantonly, willfully, recklessly, and with utter disregard for plaintiff’s protected rights

and, therefore, plaintiff is entitled to punitive damages from defendant.

                WHEREFORE, plaintiff prays for judgment against the defendant as follows:

                (a) As to plaintiff’s First Cause of Action under the ADA, Second Cause of

Action under the Rehabilitation Act, and Fifth Cause of Action for breach of contract

accompanied by a fraudulent act, for such an amount of actual and special damages as the trier of

fact may find (including damages for lost back and future wages, income and benefits, economic

injury, medical bills and expenses, as well as expenses associated with finding other work,

severe psychological harm, emotional distress, anxiety, depression, pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, embarrassment, humiliation, loss to

professional standing, character and reputation, and physical and personal injuries), the costs and

disbursements of this action, including his reasonable attorney’s fees (except on plaintiff’s Fifth

Cause of Action), punitive damages, prejudgment interest, and for such other and further relief as

the court deems just and proper;

                (b) As to plaintiff’s Third Cause of Action under the ADEA, plaintiff prays for

such an amount of actual and special damages as the trier of fact may find, (including lost back



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and future wages, income and benefits, expenses associated with finding other work, medical

bills and expenses, other economic injury, plaintiff’s reasonable attorney’s fees and costs,

prejudgment interest, liquidated damages, and such other and further relief as the court deems

just and proper; and

               (c) As to plaintiff’s Fourth Cause of Action for breach of contract, for such an

amount of actual and special damages as the trier of fact may find, (including lost back and

future wages, income and benefits, expenses associated with finding other work), other economic

loss, prejudgment interest, and such other and further relief as the court deems just and proper.

                                                     HITCHCOCK & POTTS

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July 18, 2024




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